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                           UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF NEW YORK
    __________________________________________
                                                      )
    MARTÍN JONATHAN BATALLA VIDAL,                    )
    ANTONIO ALARCÓN, ELIANA FERNANDEZ, )
    CARLOS VARGAS, CAROLINA FUNG FENG, )
    M.B.F., by her next friend LUCIA FELIZ,           )
    XIMENA ZAMORA, SONIA MOLINA                       ) Case No. 1:16-cv-04756 (NGG)(VMS)
    and JOHANA LARIOS SAINZ,                          )
                                                      ) April 25, 2022
            On behalf of themselves and all other     )
            similarly situated individuals,           )
                                                      )
    and MAKE THE ROAD NEW YORK,                       )
                                                      )
            On behalf of itself, its members, and its )
            clients,                                  )
                                                      )
            Plaintiffs,                               )
                                                      )
            v.                                        )
                                                      )
    ALEJANDRO MAYORKAS, in his official               )
    capacity as Secretary of Homeland Security,       )
    et al.,                                           )
                                                      )
                                                      )
            Defendants.                               )
    __________________________________________)

                              DECLARATION OF MUNEER AHMAD

    Pursuant to 28 U.S.C § 1746, I hereby declare as follows:

       1. My name is Muneer Ahmad. I am the Deputy Dean for Experiential Education and Sol
          Goldman Clinical Professor of Law at Yale Law School. I co-teach the Worker &
          Immigrant Rights Advocacy Clinic (WIRAC), a part of the Jerome N. Frank Legal
          Services Organization (LSO).

       2. Attached hereto as Exhibit A is a true and correct copy of a receipt confirming the
          submission of Ms. Johana Larios Sainz’s first-time DACA application, and a notice
          scheduling biometrics in support of this application, entitled “DACA Application
          Documents, Johana Larios Sainz.”




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       3. Attached hereto as Exhibit B is a true and correct copy of a receipt confirming the
          submission of M.B.F’s first-time DACA application, a notice from USCIS of intent to re-
          use previously-captured biometrics in support of this application, and notice of grant of
          DACA, entitled “DACA Documents, M.B.F.”

       4. Attached hereto as Exhibit C is a true and correct excerpted copy of the transcript from
          the April 4, 2022 pre-motion conference before this Court, entitled “Transcript of Pre-
          Motion Conference (Excerpt).”

    Executed on this 25th day of April 2022, New Haven, Connecticut.

    /s/ Muneer I. Ahmad




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